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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  PERSONALIZED MEDIA                          §
  COMMU ICATIONS, LLC,                        §
                                              §
               Plaintiff,                     §
                                              §
 V.                                           § CIVIL ACTION NO. 2:19-CV-00090-J G
                                              §
  GOOGLE LLC,                                 §
                                              §
               Defendant.                     §
                                 VERDICT FORM

       In answering the following questions and completing this Verdict Form, you

 are to follow all the instructions I have given you in the Court s Final Jury

 Instructions. Your answers to each question must be unanimous. Some of the

 questions contain legal terms that are defined and explained in detail in the Final

 Jury Instructions. You should refer to and consider the Final Jury Instructions as you

 answer the questions in this Verdict Form.
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 As used herein, the following terms have the following meanings:

    © PMC refers to Personalized Media Communications, LLC

    • Google refers to Google LLC

    • The “ 217 Patent” refers to U.S. Patent No. 7,747,217

    • The “ 344 Patent” refers to U.S. Patent No. 7,769,344

    • The “ 528 Patent” refers to U.S. Patent No. 8,601,528

    • The “ 241 Patent” refers to U.S. Patent No. 8,739,241

    • The “Patents-in-Suit” refers collectively to the 217 Patent, ’344 Patent, ’528
       Patent, and ’241 Patent

    • The “Asserted Claims refers collectively to Claim 16 of the ’217 Patent,
       Claims 1 and 2 of the ’344 Patent, Claims 21 and 26 of the ’528 Patent, and
       Claims 30 and 36 of the ’241 Patent




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   IT IS VERY IMPORTANT THAT YOU FOLT OW TT F,
  INSTRUCTIONS PROVIDED IN THI VFRDirT FORM.




                 READ THEM CAREFULLY AND
   ENSURE YOUR VERDICT COMPETE WITH THEM.




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 QUESTION NO. 1:



 Did PMC prove by a preponderance of the evidence that Google infringed ANY of

 the Asserted Claims of the Patents-in-Suit?




       Yes:




 If you answered NO to Question No. 1, proceed directly to the Final Page of

 this Verdict Form and DO NOT answer Question Nos. 2, 3a, or 3b.




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 QUESTION NO. 2;



 Did Google prove by a preponderance of the evidence that any of the following

 YouTube functionalities are covered by a license to Google to the Patents-in-Suit?

 Answer by checking either LICENSED or “NOT LICENSED” for each
 accused functionality listed below:


                                                            Licensed
                                                                           Not
                                                                        Licensed


  YouTube functionalities accused under the 217 Patent




  YouTube functionalities accused under the 344 Patent




  YouTube functionalities accused under the 528 Patent




  YouTube functionalities accused under the 241 Patent




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 If you answered NO to Question No. 1 or LICENSED to ALL of the
 functionalities listed Question No. 2, then DO NOT answer Question Nos. 3a
 or 3b.

 Answer Question Nos. 3a and 3b ONLY as to any Asserted Claim that you have
 found to be both INFRINGED and NOT LICENSED.


 QUESTION NO. 3a;

 What sum of money, if any, paid now in cash, has PMC proven by a preponderance

 of the evidence would compensate PMC for its damages resulting from

 infringement?




 Answer in United States Dollars and Cents, if any:




          $




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 QUESTION NO. 3b;

 Is the total amount you awarded in Question No. 3 a, if any, a lump-sum representing

 damages for past and future sales, or is the amount you awarded in Question No. 3a

 a running royalty for past sales only?




       Check ONE of the following:

                                                  Lump-sum



                                                           OR


                                                 Running royalty for past sales




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                  FINAL PAGE OF JURY VERDICT FORM

 You have now reached the end of the Verdict Form and should review it to ensure it

 accurately reflects your unanimous determinations. The Jury Foreperson should

 then sign and date the Verdict Form in the spaces below. Once this is done, notify

 the Court Security Officer that you have reached a verdict. The ury Foreperson

 should keep the Verdict Form and bring it when the jury is brought back into the

 courtroom.




 Signed this day of November, 2020.




                               Jury Foreperson




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